                                                                                          U.S. Department of Justice
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                                                                                          November 6, 2014

                                                                                                                    _ALED            __         ENTERED
                                                                                                                    _LOGGED          __         RECEIVED
Joseph F. Vallario 111,Esquire
Vallario Law Group
5210 Auth Road, Suite 600                                                                                                   DEC 1 9 2014
Suitland. MD 20746                                                                                                            AT GREENBELT
                                                                                                                        CLERK, U.S. DISTRICT COURT
                                                                                                                                                             ,jJV
                                                                                                                                                             •
                                                                                                                          DISTRICT OF MARYLAND

                            Rc:          United States v. David Dwavne Rudolph,                                    BY                                   DEPUn'

                                         Crim. No. [To Be Determined] TDC- l'-f                                  - 056 a.
Dear Mr. Vallario:

               This leller, together with the Sealed Supplement. confimls the plea agreement
which has been ollered to the Dcfcndant by the United States Allorney's OtTice for the District of
Maryland ('.this Office"). If the Dclendam accepts this otTer, please have him execute it in thc
spaces provided below. If this oller has not been accepted by 5:00 p.m. November 13,2014. it
will be deemed withdrawn. The terms of the agreemcnt are as follows:

                                                           Offenses of Conviction

                1.     The Dcfendant agrees to plead guilty to a two-count Infornlation to bc
Iiled against him, which will charge him with (1) possession with the intent to distribute
controlled substances. to wit. 280 grams or more of a mixture or substance containing a
detectable amount of cocaine base, a mixture or substance containing a detectable amount of
cocaine, and a mixture or substance containing a detectable amount of marijuana, all in violation
of 21 U.S.c. S 841(a)(I) (Coum One): and (2) being a felon in possession of a fireaml, in
violation of 18 U.S.c. S 922(g) (Count Two). The Defendant admits that he is, in fact, guilty of
these offenses and will so advise the Court.

                                                          Elements of the Offenses

               2.      The e1emcnts of thc offcnses to which the Defendant has agreed to plead
guilty, and which this Ortiee would prove if the case went to trial. arc as follows:



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                    Count One (Possession with the Intent to Distribute Controlled Substances)

        (I) The Defendant possessed a mixture or substance containing 280 grams or more of
cocaine base (a Schedule II controlled substance), a mixture or substance containing a detectable
amount of cocaine (a Schedule II controlled substance), and a mixture or substance containing a
detectable amount of marijuana (a Schedule ( substance); (2) the Defendant knew that he
possessed these controlled substances; and (3) the Defendant distributed or intended to distribute
these controlled substances.

                         Count Two (Felon in Possession of a Firearm and Ammunition)

        (I) The Defendant was convicted in any court of a crime punishable by imprisonment for
more than one year, and his civil rights have not been restored; (2) after that conviction, the
Defendant knowingly possessed a firearm or ammunition; and (3) the possession charged was in
or affecting interstate or foreign commerce.

                                                    Penalties

                 3.      The maximum sentence provided by statute for the offenses to which the
Defendant is pleading guilty are as follows: Count One (Drug Conspiracy): a mandatory
minimum sentence often years imprisonment and a maximum term ofHfe imprisonment, followed
by at least five years of supervised released but not more than life, and a $1 0,000,000 fine. Count
Two (Felon in Possession of a Firearm): ten years imprisonment, a $250,000 fine, and three years
of supervised release, except that if the Court finds that the Defendant has three or more prior
convictions for a violent felony or a serious drug offense and determines that the Defendant is
therefore an Armed Career Criminal, pursuant to 18 U.S.C. ~ 924(e), then the sentence is a
mandatory minimum of IS years imprisonment and a maximum sentence of life, a five-year term
of supervised release, and a fine of $250,000. In addition, the Defendant must pay $200 as a
special assessment pursuant to 18 U.S.C. ~ 3013, which will be due and should be paid at or before
the time of sentencing. This Court may also order him to make restitution pursuant to 18 U.S.C.
~~ 3663, 3663A, and 3664.1 If a fine or restitution is imposed, it shall be payable immediately,
unless, pursuant to 18 U.S.C. ~ 3572(d), the Court orders otherwise. The Defendant understands
that if he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of him supervised release, him supervised release could be revoked. even on the last
day of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term of imprisonment imposed.

               Pursuant to 18 U.S.C. ~ 3612, if the Court imposes a fine in excess of$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. ~ 36I2(f)(3).

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                                        Waiver of Rights

               4.      The Defendant understands that by entering into this agreement, he
surrenders certain rights as outlined below:

                       a.     If the Defendant had persisted in his plea of not guilty, he would
have had the right to a speedy jury trial with the close assistance of competent counsel. That
trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the Court
all agreed.

                      b.      If the Defendant elected ajury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent,
and that presumption could be overcome only by proof beyond a reasonable doubt.

                        c.     If the Defendant went to trial, the government would have the
burden of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have
the right to confront and cross-examine the government's witnesses. The Defendant would not
have to present any defense witnesses or evidence whatsoever. If the Defendant wanted to call
witnesses in him defense, however, he would have the subpoena power of the Court to compel
the witnesses to attend.

                      d.      The Defendant would have the right to testify in him own defense
if he so chose, and he would have the right to refuse to testify. If he chose not to testify, the
Court could instruct the jury that they could not draw any adverse inference from him decision
not to testify.

                       e.      If the Defendant were found guilty after a trial, he would have the
right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges against him. By pleading guilty, the Defendant knowingly gives up the right to appeal
the verdict and the Court's decisions.

                       f.     By pleading guilty, the Defendant will be giving up all of these
rights, except the right, under the limited circumstances set forth in the "Waiver of Appeal"
paragraph below, to appeal the sentence. By pleading guilty, the Defendant understands that he
may have to answer the Court's questions both about the rights he is giving up and about the
facts of him case. Any statements the Defendant makes during such a hearing would not be
admissible against him during a trial except in a criminal proceeding for peryury or false
statement.
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                         g.     If the Court accepts the Defendant's plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

                       h.     By pleading guilty, the Defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that if he is not a citizen of the United States, pleading guilty may have
consequences with respect to him immigration status. Under federal law, conviction for a broad
range of crimes can lead to adverse immigration consequences, including automatic removal from
the United States. Removal and other immigration consequences are the subject of a separate
proceeding, however, and the Defendant understands that no one, including him attorney or the
Court, can predict with certainty the effect of a conviction on immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any potential immigration
consequences.

                              Advisory Sentencing Guidelines Apply

               5.      The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the "advisory guidelines range") pursuant to the
Sentencing Reform Act of 1984 at 18 U.S.C. 99 3551-3742 (excepting 18 U.S.C. 99 3553(b)(I)
and 3742(e» and 28 U.S.C. 99 991 through 998. The Defendant further understands that the
Court will impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take
into account the advisory guidelines range in establishing a reasonable sentence.

                            Factual and Advisory Guidelines Stipulation

              6.      This Office and the Defendant understand, agree and stipulate to the
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt, and to the following applicable sentencing guidelines factors:

                       a.    As to Count One (Possession with the Intent to Distribute
Controlled Substances), the base offense level is 30, pursuant to U.S.S.G. 99 2DI.l(a)(5) and
2D1.1 (c)(4), because 280 grams or more but less than 840 grams of cocaine base ("crack") were
involved in the offense. The amount of marijuana and powder cocaine involved in the offense
would not change this offense level.

                       b.      Pursuant to U.S.S.G. 9 2DI.l(b)(l), 2 levels are added because the
Defendant possessed a dangerous weapon. Pursuant to U.S.S.G. 9 2DI.l(b)(I2), 2 additional
levels are added, because the Defendant maintained a premises for the purpose of manufacturing
or distributing a controlled substance. The adjusted offense level for Count One is therefore
34.

                       c.      If the Defendant    IS   determined to be a career offender, the
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aggregate sentencing guidelines range will be determined by U.S.S.G. S 4Bl.I(b)(I).               The
Defendant's base offense level will be 37, and his criminal history shall be Category VI.

                       d.      As to Count Two (Felon in Possession of a Firearm), the base
offense level is 24, pursuant to U.S.S.G. S 2K2.I(a)(2), because the Defendant committed the
instant offense subsequent to sustaining at least two felony convictions of either a crime of
violence or a controlled substance offense. Pursuant to U.S.S.G. S 2K2.I(b)(I)(A), 2 levels are
added because the offense involved at least three firearms, but less than eight firearms.
Pursuant to U.S.S.G. S 2K2.I(b)(6)(B), an additional 4 levels are added because the Defendant
used or possessed the firearm in connection with another felony offense. The adjusted offense
level for Count Two is 30.

                       Grouping:

                     e.      The counts group under U.S.S.G. S 3D1.2.              Therefore, the
combined offense level is 34 if the Defendant is not a career offender, and 37 if the Defendant i.a
a career offender.

                        f.      This Office does not oppose a two-level reduction in the
Defendant's adjusted offense level, based upon the Defendant's apparent prompt recognition and
affirmative acceptance of personal responsibility for him criminal conduct. This Office agrees
to make a motion pursuant to U.S.S.G. S 3El.I(b) for an additional one-level decrease in
recognition of the Defendant's timely notification of him intention to plead guilty. (The
Defendant acknowledges, however, that this reduction may not be applied in a manner which
results in a sentence below any applicable mandatory minimum sentence.) This Office may
oppose any adjustment for acceptance of responsibility if the Defendant (a) fails to admit each
and every item in the factual stipulation; (b) denies involvement in the offense; (c) gives
conflicting statements about him involvement in the offense; (d) is untruthful with the Court, this
Office, or the United States Probation Office; (e) obstructs or attempts to obstruct justice prior to
sentencing; (I) engages in any criminal conduct between the date of this agreement and the date
of sentencing; or (g) attempts to withdraw him plea of guilty. The final adjusted group offense
level is 31 (if the Defendant is not a career offender) or 34 (if the Defendant is a career offender).

                7.      The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense level if
he is a career offender or if the instant offense was a part of a pattern of criminal conduct from
which he derived a substantial portion of his income.

                8.     This Office and the Defendant agree that with respect to the calculation of
the advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute. The Defendant reserves the right to argue for any factor under 18
U.S.c. S 3553(a) that could take the sentence outside of the advisory guidelines range and will
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notify the Court, the United States Probation Officer and government counsel at least 14 days in
advance of sentencing of the facts or issues he intends to raise.

                        Obligations of the United States Attorney's Office

               9.      At the time of sentencing, this Office will recommend a sentence within
the applicable advisory guidelines range, subject to any mandatory minimum sentence.

               10.   The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct.

                              Forfeiture of Firearm and Ammunition

                II.    The Defendant understands and agrees that as a result of his guilty plea, he
will not be permitted to own, possess, or use a firearm. He forfeits all right, title, and interest in
the following firearms and ammunition seized on April 8,2014 and June 27, 2014: a Taurus
.45 caliber pistol, bearing serial number NEP08970, loaded with 12 rounds of ammunition; a
Glock 9mm pistol, bearing serial number MEZ294, loaded with 16 rounds of ammunition; a
Beretta .32 caliber pistol, bearing serial number DAA321965, loaded with II rounds of
ammunition; and a Taurus semi-automatic handgun, bearing serial number TDM35443.

                12.    The Defendant agrees to consent to the entry of orders of forfeiture for
such property and waives the requirements of Federal Rules of Criminal Procedure I I(b)(l)(J),
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

                       Assisting the Government with Regard to the Forfeiture

                  13.    The defendant agrees to assist fully in the forfeiture of the foregoing
assets. The defendant agrees to disclose all of his assets and sources of income to the United
States, and to take all steps necessary to pass clear title to the forfeited assets to the United
States, including but not limited to executing any and all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction
of the United States, and taking whatever steps are necessary to ensure that assets subject to
forfeiture are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture.
The defendant further agrees that he will not assist any third party in asserting a claim to the
forfeited assets in an ancillary proceeding and that he will testify truthfully in any such
proceeding.
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                              Waiver of Further Review of Forfeiture

                 14.     The defendant further agrees to waive all constitutional, legal and
equitable challenges (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the
forfeiture constitutes an excessive fine or punishment. The defendant also agrees not to challenge
or seek review of any civil or administrative forfeiture of any property subject to forfeiture under
this agreement, and will not assist any third party with regard to such challenge or review or with
regard to the filing of a petition for remission of forfeiture.

                                          Drug Forfeiture

                 15.    The Defendant understands that the court will, upon acceptance of his
guilty plea, enter an order of forfeiture as part of his sentence, and that the order of forfeiture
may include assets directly traceable to his offense, substitute assets and/or a money judgment
equal to the value of the property derived from, or otherwise involved in, the offense.
Specifically, the court will order the forfeiture of all proceeds obtained or retained as a result of
the offense, any property used to commit or to facilitate the commission of the offense, including
but not limited to $9,432 in United States Currency and a 2005 GMC Yukon with Vehicle
Identification Number IGKFKI6Z55JI14923.            The defendant agrees to consent to the entry of
orders of forfeiture for such property and waives the requirements of Federal Rules of Criminal
Procedure Il(b)(l)(J),    32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

                                         Waiver of Appeal

                16.    In exchange for the concessions made by this Office and the Defendant in
this plea agreement, this Office and the Defendant waive their rights to appeal as follows:

                         a.     The Defendant knowingly waives all right, pursuant to 28 U.S.C.
S 1291 or otherwise,   to appeal the Defendant's conviction;

                        b.       The Defendant and this Office knowingly waive all right, pursuant
to 18 U.S.C. S 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range, the
determination of the defendant's criminal history, the weighing of the sentencing factors, and the
decision whether to impose and the calculation of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release), except as follows:
(i) the Defendant reserves the right to appeal from any sentence above the advisory guidelines
range resulting from a final offense level of 34; and (ii) this Office reserves the right to appeal
from any sentence below the advisory guidelines range resulting from a final offense level of 31.
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                       c.      Nothing in this agreement shall be construed to prevent the
Defendant or this Office from invoking the provisions of Federal Rule of Criminal Procedure
35(a), or from appealing from any decision thereunder, should a sentence be imposed that
resulted from arithmetical, technical, or other clear error.

                        d.      The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

                              Obstruction or Other Violations of Law

                  17.     The Defendant agrees that he will not commit any offense in violation of
 federal, state or local law between the date of this agreement and his sentencing in this case. In
the event that the Defendant (i) engages in conduct after the date of this agreement which would
justify a finding of obstruction of justice under U.S.S.G. S 3Cl.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
 local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other
than those stipulated in this agreement, and it will also be free to make sentencing
recommendations other than those set out in this agreement. As with any alleged breach of this
agreement, this Office will bear the burden of convincing the Court of the Defendant's
obstructive or unlawful behavior and/or failure to acknowledge personal responsibility by a
preponderance of the evidence. The Defendant acknowledges that he may not withdraw his
guilty plea because this Office is relieved of its obligations under the agreement pursuant to this
paragraph.

                                         Court Not a Party

                18.    The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information.       The Defendant understands that the Court is under no
obligation to accept this Office's recommendations and the Court has the power to impose a
sentence up to and including the statutory maximum stated above. The Defendant understands
that if the Court ascertains factors different from those contained in the stipulation set forth
above, or if the Court should impose any sentence up to the maximum established by statute, the
Defendant cannot, for that reason alone, withdraw him guilty plea, and will remain bound to
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fullill all of him obligations under this agreement. The Defendant understands that neither the
prosecutor. him counsel. nor the Court can make a binding prediction, promise, or representation
as to what guidelines range or sentence the Defendant will rceeive.   The Dcfendant agrees that
no one has madc such a binding prediction or promise.

                                       Entire A!!reement

                 19.   This letter supersedes any prior understandings,  promises. or conditions
belween this Otliee and the Defendant and, together with the Sealed Supplement, constitutes the
completc plea agrecmcnt in this case. The Defendant acknowledges that there are no other
agreements. promises. undertakings or understandings       between the Defendant and this Office
other than those set forth in this letter and the Scaled Supplement and none will be entered into
unless in writing and signed by all parties.

        If the Defendant fully accepts each and e"ery tenn and condition of this agreement.
please sign and have the Defendant sign the original and return it to me promptly.




                                             Leah      ssack
                                             Assistant United Slates Attorney
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       ) have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. I understand it, and ) voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Sti ulation with my attorney, and I do not
wish to change any part of it. I am completely satisfi d w the representatio of my tto

   Ihj,J) -I L(
Date

        I am David Dwayne Rudolph's attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement with him. He advises me that he understands and
accepts its terms. To my knowledge, him decision to enter into this agreement is an informed
and voluntary one.

 \\\~\\\
Date
